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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SHANICE ALSTON and NICK OSORIO, on
behalf of themselves and all others
similarly situated,                                 21 Civ. 8380 (JGK)
                    Plaintiffs,                     ORDER

               - against -

CITYWIDE MOBILE RESPONSE CORP.,
WARREN GOLDEN, and HENRY HALPERT,
                    Defendants.

JOHN G. KOELTL, District Judge:

         The parties are directed to submit a Rule 26(f)        report by

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SO ORDERED.



Dated:         New York, New York
               November 9, 2021

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                                          United States District Judge
